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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KEISHA JONES,

                                  Plaintiff,
                                                                   20-CV-6788 (LLS)
                      -against-
                                                                         ORDER
 STEVEN BANKS, et al.,

                              Defendants.

LOUIS L. STANTON, United States District Judge:

         By order dated August 26, 2020, the Court granted Plaintiff leave to submit an amended

complaint within sixty days. On October 14, 2020, the Court received a letter from Plaintiff

requesting additional time to comply. (ECF No. 6.) Plaintiff’s request for an extension of time to

file the amended complaint is GRANTED. Plaintiff is directed to file an amended complaint, as

specified by the August 26, 2020 order, within sixty days of the date of this order. 1 If Plaintiff

fails to comply within the time allowed and cannot show good cause to excuse such failure, this

action will be dismissed for failure to state a claim upon which relief may be granted.

         The Clerk of Court is directed to mail a copy of this order to Plaintiff and note service on

the docket.

SO ORDERED.

Dated:       October 15, 2020
             New York, New York

                                                                  Louis L. Stanton
                                                                     U.S.D.J.




         1
         Plaintiff should note that the order does not require her to make legal arguments or
include any evidence, but simply to allege facts showing that the named defendants violated her
rights.
